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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 NHC LLC, a Florida limited liability
 company,

                    Plaintiff,

 v.                                                  No. 19-cv-06332

 CENTAUR CONSTRUCTION COMPANY                        Honorable Matthew F. Kennelly
 INC., an Illinois corporation, SPIRO
 TSAPARAS, and PETER ALEXOPOULOS,

                    Defendants.

                    INJUNCTION ORDER – AMUNDSEN DAVIS, LLC

        This matter coming to be heard on the Motion (the “Motion”) made by Plaintiff and
Judgment Creditor NHC LLC (“Judgment Creditor”) for turnover and accounting concerning
funds transferred to Amundsen Davis, LLC (“Amundsen Davis”) (Dkt. No. 526), the Court having
jurisdiction over the parties hereto and subject matter hereof, and having and been fully advised in
the premises, the Court HEREBY FINDS AS FOLLOWS:

        1.     After a jury trial, judgment was entered against defendants Centaur Construction
Co., Spiro Tsaparas, and Peter Alexopoulos (collectively, the “Judgment Debtors”) jointly and
severally in the total amount of $22,272,124.34 for fraud and breach of contract plus punitive
damages against the defendants individually and in particular Tsaparas in the amount of
$1,500,000.00 (“Judgment”). (Dkt. No. 228.)

       2.    Following service of a citation to discover assets on Tsaparas, Tsaparas transferred
$4,000 to Amundsen Davis in payment of legal fees. (Dkt. No. 631.)

        3.      The Court found that the payment of $4,000 to Amundsen Davis by Tsaparas
violated the restraining provision including the citation to discover assets served on Tsaparas and
thus Amundsen Davis was ordered to turn over those funds to Judgment Creditor. (Dkt. No. 613).

        4.       The Court found that Judgment Debtors have repeatedly violated the restraining
provisions of the respective citations to discover assets served upon them. (Dkt. No. 613.)
Similarly, the Court found that Amundsen Davis, in its capacity as counsel for the Judgment
Debtors, has repeatedly and inappropriately relied on a purported exemption to justify these
transfers. (Id.)

       IT IS THEREFORE ORDERED AND ADJUDGED BY THIS COURT THAT:
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       (i) Amundsen Davis and its officers, affiliates, agents, and employees are hereby enjoined
from accepting or receiving any non-exempt assets of the Judgment Debtors, including any assets
as defined in 735 ILCS 5/2-1402(f) and (m).



Dated: April 30, 2025                       ENTERED:



                                            MATTHEW F. KENNELLY
                                            United States District Judge




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